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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 HELEEN MEES,                                               NOTICE OF JOINT
                                                            MOTION TO DISMISS
                                 Plaintiff,
                                                            19 Civ. 7346 (AJN)(KNF)
                     -against-

 CITY OF NEW YORK, MANHATTAN
 DISTRICT ATTORNEY’S OFFICE, CYRUS
 VANCE, JR., NITIN SAVUR, JEANINE
 LAUNAY, SAMANTHA SCHOTT,

                                 Defendants.


       PLEASE TAKE NOTICE that upon the annexed Declaration of Assistant District

Attorney Elizabeth N. Krasnow dated April 21, 2020, the exhibits listed therein, the

accompanying memorandum of law, and all prior pleadings and proceedings herein, defendants

City of New York, the New York County District Attorney’s Office, District Attorney Cyrus R.

Vance, Jr., and Assistant District Attorneys Nitin Savur, Jeanine Launay, and Samantha Schott

will jointly move this Court before the Honorable Alison J. Nathan, United States District Judge,

at the United States Courthouse for the Southern District of New York, located at 40 Foley

Square, New York, New York, on a date to be determined by the Court, for an Order pursuant

to Federal Rule of Civil Procedure 12(b)(1) and (b)(6) dismissing the amended complaint, with

prejudice, as well as for any further relief the Court may deem just and proper.




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       PLEASE TAKE FURTHER NOTICE that the briefing schedule endorsed by the

Court on February 28, 2020, see ECF 55, requires that plaintiff file any opposition papers within

sixty days from the date of this motion—i.e., by June 22, 2020—and that defendants file their

reply papers within three weeks from the filing of plaintiff’s opposition papers.

Dated: Stamford, Connecticut
       April 21, 2020

                                            CYRUS R. VANCE, JR.
                                            District Attorney of New York County
                                            One Hogan Place
                                            New York, New York 10013
                                            (212) 335-9000
                                            Counsel for the DA defendants

                                            By:    Elizabeth N. Krasnow /s
                                                   Elizabeth N. Krasnow
                                                   Assistant District Attorney


Dated: New York, New York
       April 21, 2020

                                            JAMES E. JOHNSON
                                            Corporation Counsel of the City of New York
                                            100 Church Street
                                            New York, New York 10007
                                            (212) 356-2384
                                            Counsel for the defendant City of New York

                                            By:    William T. Gosling /s
                                                   William Gosling
                                                   Assistant Corporation Counsel




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